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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 MARYLAND CHAPTER OF THE
 SIERRA CLUB et al.,

         Plaintiffs,

   v.                                                   Case No. 8:22-cv-02597-DKC

 FEDERAL HIGHWAY
 ADMINISTRATION et al.,

         Defendants.


                                 NOTICE OF APPEARANCE

        Please ENTER the appearance of Assistant United States Attorney Roann Nichols as

counsel for Defendants the Federal Highway Administration, Stephanie Pollack in her official

capacity, and Gregory Murrill in his official capacity (together the “Federal Defendants”).



Date: November 10, 2022

                                             Respectfully submitted,

                                             Erek L. Barron
                                             United States Attorney

                                                  /s/                         .
                                             Roann Nichols (Bar No. 07871)
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                                             Counsel for Federal Defendants
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of November 2022 that a copy of the

foregoing Notice of Appearance has been electronically filed with the Clerk of Court and served

on all registered parties via CM/ECF.



                                                           ____/s/_____________________
                                                           Roann Nichols
                                                           Assistant United State Attorney




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